                 ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

AMERICAN WATER WORKS              )
ASSOCIATION and ASSOCIATION       )
OF METROPOLITAN WATER             )
AGENCIES,                         )
                                  )
                     Petitioners, )
                                  )
                                                 No. 24-1188
       v.                         )
                                  )
                                                 consolidated with
UNITED STATES                     )
                                                 Nos. 24-1191, 24-1192
ENVIRONMENTAL PROTECTION )
AGENCY, and MICHAEL S. REGAN, )
in his official capacity as       )
Administrator, United States      )
Environmental Protection Agency,  )
                                  )
                     Respondents. )

   RESPONDENT-INTERVENORS’ OPPOSITION TO TOXICOLOGY
   EXCELLENCE FOR RISK ASSESSMENT AND INTERNATIONAL
        SOCIETY FOR REGULATORY TOXICOLOGY AND
   PHARMACOLOGY’S MOTION FOR LEAVE TO FILE UNTIMELY
       AMICI CURIAE BRIEF SUPPORTING PETITIONERS

      Respondent-Intervenors oppose the motion of proposed amici curiae

Toxicology Excellence for Risk Assessment (“TERA”) and the International

Society for Regulatory Toxicology and Pharmacology (“ISRTP”) (together,

“Proposed Amici”) for leave to file an untimely amicus brief in support of

Petitioners. Proposed Amici’s brief was due on October 14, 2024; their motion is



                                         1
six months late and there is no good cause that could justify their untimely filing—

indeed, Proposed Amici do not even acknowledge that their motion is late, let

alone justify their delay. In the interim, Respondent-Intervenors filed their proof

brief on January 17, 2025. Allowing an untimely amicus brief in support of

Petitioners would unfairly prejudice Respondent-Intervenors by denying them a

chance to respond to Proposed Amici’s arguments. In addition, this case is

currently in abeyance until May 12, 2025, so filing any brief at this time serves no

purpose. Moreover, many aspects of Proposed Amici’s brief are not relevant to the

disposition of this case. The Court should deny Proposed Amici’s motion.

                                  BACKGROUND

         This case involves consolidated challenges to the U.S. Environmental

Protection Agency’s rule titled “PFAS National Primary Drinking Water

Regulation,” 89 Fed. Reg. 32,532 (Apr. 26, 2024) (“PFAS Drinking Water Rule”

or the “Rule”). The Rule set enforceable limits for six PFAS chemicals in drinking

water.

         Petitions for Review were timely filed on June 7 and June 10, 2024. See

ECF Nos. 2058535, 2058848, 2059361. The Court’s September 3, 2024,

scheduling order set deadlines for Petitioners’ briefs on October 7, 2024,

Respondent’s brief on December 23, 2024, and Respondent-Intervenors’ brief on

January 17, 2025. ECF No. 2072754. Under the Federal Rules of Appellate


                                           2
Procedure and this Court’s rules, amicus briefs supporting Petitioners were due on

October 14, 2024, seven days after the deadline for Petitioners’ briefs. Fed. R.

App. P. 29(a)(6); D.C. Cir. R. 29(c).

      As scheduled, Petitioners filed their opening briefs in October 2024, ECF

Nos. 2078731, 2078734. Respondent EPA filed its brief in December 2024, ECF

No. 2091318, and Respondent-Intervenors filed their brief in January 2025, ECF

No. 2094834. The Court also accepted one amicus brief supporting Petitioners in

October, ECF No. 2082644, and three amicus briefs supporting Respondents in

January, ECF Nos. 2087080, 2087891, 2099657, all of which were timely filed.

      On February 7, 2025, prior to the deadline for Petitioners’ reply briefs, the

Court granted Respondent EPA’s unopposed motion to hold these consolidated

cases in abeyance for sixty days. ECF No. 2099658. At the time the case was first

held in abeyance, all parties had filed their principal briefs and only Petitioners’

reply briefs remained to be filed. This case remains in abeyance, and it is not yet

known how or when this case will proceed. On April 8, 2025, Respondent EPA

filed an unopposed motion to continue the abeyance for thirty days, ECF No.

2109880, and the Court subsequently required motions to govern further

proceedings by May 12, 2025, ECF No. 2110289. Nevertheless, Proposed Amici

filed their pending motion for leave to file an amicus brief in support of Petitioners

on April 15, 2025. ECF No. 2111115.


                                           3
                                    ARGUMENT

      As discussed below, courts may grant leave to file an untimely amicus brief

if there is good cause for the late filing. Here, Proposed Amici’s brief is six months

overdue and Proposed Amici have not even attempted to show good cause for their

untimeliness. Their motion for leave should therefore be denied. In any event, no

good cause exists for Proposed Amici’s untimely filing, and the filing of their brief

at this late date would unfairly prejudice Respondent-Intervenors. The motion for

leave should also be denied because the proposed brief is neither desirable nor

relevant to the disposition of the case. See Fed. R. App. R. 29(a)(3)(B).

I.    The Court Should Deny Leave for Proposed Amici to File Their Brief
      Because They Have Failed to Show Good Cause for Their Untimely
      Filing

      “An amicus curiae must file its brief, accompanied by a motion for filing

when necessary, no later than 7 days after the principal brief of the party being

supported is filed.” Fed. R. App. P. 29(a)(6). “A ‘principal brief’ is the opening

brief on the merits, as opposed to a reply brief or another variety of brief.” Fry v.

Exelon Corp. Cash Balance Pension Plan, 576 F.3d 723, 725 (7th Cir. 2009).

While a party may seek leave to file an untimely amicus brief, courts deny leave to

when there is no good cause for the late filing. See, e.g., Order, Carson v. Off. of

Special Couns., No. 08-5219, 2009 WL 1201695, at *1 (D.C. Cir. Jan. 27, 2009)

(applying a prior version of D.C. Circuit Rule 29); Marbled Murrelet v. Babbitt, 83



                                           4
F.3d 1060, 1062 n.1 (9th Cir. 1996); ThermoLife Int’l, LLC v. Am. Fitness

Wholesalers, L.L.C., 831 F. App’x 325, 325 n.1 (9th Cir. 2020); Friends of

Animals v. U.S. Fish & Wildlife Serv., No. 4:18-cv-53, 2021 WL 4440347, at *2–3

(D. Utah Sept. 28, 2021).

      Here, Proposed Amici’s motion and brief supporting Petitioners were due on

October 14, 2024. ECF No. 2072754; Fed. R. App. P. 29(a)(6); D.C. Cir. R. 29(c).

Although Respondent-Intervenors’ counsel stated they would oppose Proposed

Amici’s motion as untimely, Proposed Amici’s motion does not even acknowledge

the Court’s deadline or attempt to provide good cause for their late filing. Proposed

Amici have waived any arguments that the Court should excuse the untimeliness of

their brief. See, e.g., City of Waukesha v. EPA, 320 F.3d 228, 250 n.22 (D.C. Cir.

2003) (holding argument “first raised comprehensibly” in reply “is waived”); Steel

Joist Inst. v. Occupational Safety & Health Admin., 287 F.3d 1165, 1166 (D.C. Cir.

2002) (same). The Court should therefore deny Proposed Amici’s motion to file

their untimely brief.

II.   No Good Cause Exists for Proposed Amici’s Late Filing and Permitting
      the Filing Would Prejudice Respondent-Intervenors

      Even if Proposed Amici had not waived the argument that they have good

cause for filing an untimely brief, Proposed Amici would be unable to meet their

burden. The circumstances clearly show that no good cause exists for Proposed

Amici’s belated actions. Proposed Amici had ample notice of this case and could

                                         5
have filed their brief on time. And the filing of their amicus brief at this late stage

of the case would prejudice Respondent-Intervenors.

      A.     Proposed Amici Had Notice of This Case

      Public documents show that Proposed Amici had actual notice of this case

before their October 14, 2024, deadline. Michael Dourson serves as the President

of both Proposed Amici.1 On August 27, 2024, The Guardian reported that Mr.

Dourson had sent an email in July 2024 “detailing a plan to develop and publish

peer-reviewed science for chemical companies to wield as evidence against PFAS

limits,” which Mr. Dourson subsequently clarified encompassed the Rule at issue

in this lawsuit.2 Mr. Dourson’s July 2024 email reportedly “cite[d] the legal

challenge to the new regulations” and stated that scientific “papers will later this

year be ‘published as the first issue of [a] new journal’ being established to first

provide ‘support’ for the legal challenge.”3 Mr. Dourson reportedly spoke to The

Guardian for the article, 4 and in September 2024, he published a response to the


1
  See Int’l Soc’y of Regul. Toxicology & Pharmacology, https://isrtp.org/ (last
accessed Apr. 21, 2025); TERA Staff, Toxicology Excellence for Risk Assessment,
https://tera.org/Staff/index.html (last accessed Apr. 21, 2025).
2
  Tom Perkins, Scientists Tied to Chemical Industry Plan to Derail PFAS Rule on
Drinking Water, Guardian (Aug. 27, 2024), https://www.theguardian.com/us-
news/article/2024/aug/27/scientists-chemical-industry-derail-pfas-regulation-
drinking-water; Michael Dourson, An Overview of Where We Are on PFAS in
2024, 1 J. Toxicology & Regul. Pol’y 1, 2 (Jan. 2025),
https://isrtp.kglmeridian.com/view/journals/jtrp/1/1/article-p1_2.xml?body=PDF.
3
  Perkins, supra note 2 (second alteration in original).
4
  Id.

                                           6
article. 5 Consistent with The Guardian’s reporting, on January 1, 2025, Proposed

Amicus ISRTP published Volume 1, Issue 1 of the Journal of Toxicology and

Regulatory Policy.6 The issue includes a short article by Mr. Dourson, first

submitted to the journal on September 24, 2024, that references the Rule and the

court challenges to the Rule. 7

      These public documents demonstrate that Mr. Dourson, and by extension

Proposed Amici, had actual notice of this case—and were actively contemplating

engagement with this case—in July, August, and September of 2024, well before

the October 14, 2024, amicus deadline, and with ample opportunity to file a timely

amicus brief.

      B.     Proposed Amici’s Brief Relies on Information Available in
             October 2024

      Propose Amici’s brief states that it is “extensively inform[ed]” by the results

of a workshop held in October 2023. Br. of Amici Curiae in Supp. of Pet’rs’ &

Vacatur, at 7–8, ECF No. 2111121 (“Proposed Amicus Br.”). Clearly, Proposed

Amici could have filed a timely brief in October 2024 based on a workshop that


5
  Michael Dourson, Guardian Gets It Wrong: PFAS Risk Assessments Need to
Incorporate International Input, LinkedIn (Sept. 23, 2024),
https://www.linkedin.com/pulse/guardian-gets-wrong-pfas-risk-assessments-need-
input-michael-sbozc.
6
  Int’l Soc’y of Regul. Toxicology & Pharmacology, J. Toxicology & Regul.
Policy, Volume 1: Issue 1 (Jan. 1, 2025),
https://isrtp.kglmeridian.com/view/journals/jtrp/1/1/jtrp.1.issue-1.xml.
7
  Dourson, supra note 2.

                                         7
took place one year earlier. In addition, Sections II and III(b) of Proposed Amici’s

brief are purely legal or policy arguments that could and should have been filed on

time.

        C.    Proposed Amici’s Desire to Reply to Other Amici or to
              Respondents Is Insufficient Justification for Untimely Filing

        Proposed Amici note that four scientists filed an amicus brief in support of

EPA and argue that Proposed Amici’s brief would “provide the Court with a

balanced presentation of the scientific issues.” Proposed Amicus Br. at 3. Their

desire to respond to the Scientist Amici Brief, ECF No. 2095046, is inadequate to

justify their untimely motion. The structure of a standard briefing schedule is

designed so that the parties—not other amici—“have the opportunity to engage

with the arguments and perspectives of amici.” Petersen Energía Inversora, S.A.U.

v. Argentine Republic, No. 15 Civ. 2739, 2022 WL 3536117, at *1 (S.D.N.Y. Aug.

18, 2022). Accordingly, even amici that file a timely brief, let alone those that

inexplicably fail to meet court deadlines, “may not file a reply brief,” without court

permission. Fed. R. App. P. 29(a)(7).

        Because Proposed Amici have waited to seek leave to file their brief until

after all the parties’ principal briefs were filed, for practical purposes they are

seeking leave to participate for the first time on reply. Indeed, Proposed Amici’s

brief explicitly replies to arguments in EPA’s brief. Proposed Amicus Br. at 16–17,

22–23. But the fact that Proposed Amici did not know what other amicus briefs

                                            8
would be submitted or might want to reply to Respondent EPA’s brief does not

justify their belated filing. If that were a sufficient rationale, amici supporting

Petitioners (or Appellants) in any case could sandbag opposing parties by waiting

and filing only reply briefs, which would contravene the intentional briefing

sequence created by the Court’s rules. See Fed. R. App. P. 29(a)(6)–(7).

      D.     The Untimeliness of Proposed Amici’s Brief Would Prejudice
             Respondent-Intervenors

      The deadline in Federal Rule of Appellate Procedure 29(a)(6) serves an

important purpose: “as a general matter, the parties to the case or controversy

before the Court should have the opportunity to engage with the arguments and

perspectives of amici without resorting to supplemental briefing.” Petersen

Energía Inversora, S.A.U., 2022 WL 3536117, at *1. Respondent-Intervenors

timely filed their proof brief on January 17, 2025. ECF No. 2094834. If Proposed

Amici were permitted to file their proposed brief at this late date, Respondent-

Intervenors would be prejudiced by their inability to respond to arguments in that

brief. Thus, even if Proposed Amici were permitted to and could show good cause

for their belated filing, the Court should deny Proposed Amici’s motion due to its

untimeliness and prejudicial effect on other parties. See Friends of Animals, 2021

WL 4440347, at *2–3 (denying motion to participate as amici where amici “filed

their Motion after briefing was scheduled and nearly complete,” “provide[d] no

justification for their delay,” and because granting leave to participate “would

                                            9
necessitate granting leave for Plaintiff to file a sur-reply”). An amicus brief is not

“desirable” when it contravenes the Court’s schedule and would prejudice existing

parties. See Fed. R. App. P. 29(a)(3)(B).

III.   Proposed Amici’s Brief Is Not Desirable and Is Largely Irrelevant

       Even if Proposed Amici had shown good cause for their untimely filing, and

the filing would not prejudice Respondent-Intervenors, Proposed Amici have failed

to show why their “amicus brief is desirable and why the matters asserted are

relevant to the disposition of the case.” Fed. R. App. P. 29(a)(3)(B). Contrary to

the Court’s rules, the proposed brief includes arguments on claims not asserted by

Petitioners and “ordinarily this [C]ourt will not entertain an amicus’s argument if

not presented by a party.” Huerta v. Ducote, 792 F.3d 144, 151 (D.C. Cir. 2015).

For example, Proposed Amici’s brief extensively discusses and cites the legal

standards for EPA’s determination to regulate new drinking water contaminants in

42 U.S.C. § 300g-1(b)(1)(A). See Proposed Amicus Br. at 3–6, 16–18. But the

proposed brief discusses science related to only two of the six PFAS chemicals

covered by the Rule—PFOA and PFOS—which are the two contaminants for

which the determination to regulate is not at issue in this litigation. Proposed

Amici acknowledge that EPA determined to regulate PFOA and PFOS in 2021, see

Proposed Amicus Br. at 6 n.5, and this Court has held that “the Safe Drinking

Water Act does not permit EPA to withdraw a regulatory determination.” Nat. Res.


                                            10
Def. Council v. Regan, 67 F.4th 397, 398 (D.C. Cir. 2023). No party challenged

EPA’s 2021 determinations to regulate PFOA and PFOS. See Resp’ts’ Proof Br. at

39 n.8, ECF No. 2091318. Proposed Amici’s arguments regarding EPA’s

determinations to regulate PFOA and PFOS are irrelevant to the disposition of this

case.

        Proposed Amici also raise a new argument that EPA incorrectly concluded

that PFOA and PFOS are carcinogens (i.e., cause cancer) and therefore EPA

established incorrect maximum contaminant levels for these two chemicals.

Proposed Amicus Br. at 5, 11–14. No Petitioner has contested EPA’s conclusion

that PFOA and PFOS are carcinogens or asserted a claim that the PFOA and PFOS

maximum contaminant levels are erroneous for that reason. As noted above, this

Court generally does not entertain arguments raised only by amici and not a party,

see Huerta v. Ducote, 792 F.3d at 151, and the Court should decline to do so here.

Proposed Amici’s arguments about the carcinogenicity of PFOA and PFOS are not

relevant to the disposition of the claims Petitioners assert in this case.

        Lastly, Section II of the proposed brief addresses statutory interpretation

issues and Section III(b) addresses domestic and international economic issues.

Proposed Amici profess expertise in toxicology and do not claim any expertise in

law or economics. Proposed Amicus Br. at 1–2. And economic arguments about

“the goal of enhancing market efficiency and strengthening America’s role in


                                           11
global trade” lack any relation to the text and purpose of the Safe Drinking Water

Act. Compare Proposed Amicus Br. at 23, with 42 U.S.C. § 300g-1. The Court

should reject this proposed amicus brief that addresses issues unrelated to the

claims presented by the Petitioners and to Proposed Amici’s purported interests

and expertise; these aspects of the brief are not helpful to the Court and not

“desirable.” See Fed. R. App. P. 29(a)(3).

IV.   Proposed Amici’s Motion Contravenes the Abeyance in This Case

      This case has been in abeyance since February 7, 2025, and will remain in

abeyance until at least May 12, 2025. The abeyance was requested to “preserv[e]

both this Court’s and the parties’ resources.” Unopposed Mot. to Hold Case in

Abeyance ¶ 3 (Feb. 7, 2025), ECF No. 2099439. Proposed Amici’s decision to file

their motion during the abeyance runs counter to the purpose of the abeyance and

demonstrates a lack of regard for the Court and the other parties. It is also illogical.

It is not yet clear whether this case will be resolved on the merits and, if so, when.

For these reasons alone, the Court can and should deny Proposed Amici’s motion.

      In the alternative, and notwithstanding the abeyance, if the Court exercises

its discretion to grant Proposed Amici “leave for later filing” than the rules allow,

then the Court also should “specify[] the time within which an opposing party may

answer,” Fed. R. App. P. 29(a)(6), or order that proposed deadlines for answers to

Proposed Amici’s brief be included in the motions to govern due on May 12, 2025.


                                          12
                                     CONCLUSION

      For the foregoing reasons, this Court should deny Proposed Amici’s motion

for leave to file an amicus brief.

      DATED: April 21, 2025                   Respectfully submitted,

      /s/Katherine K. O’Brien                 /s/Jared J. Thompson
      KATHERINE K. O’BRIEN                    JARED J. THOMPSON
      Earthjustice                            Natural Resources Defense Council
      P.O. Box 2297                           40 West 20th Street
      South Portland, Maine 04116             New York, NY 10011
      (212) 284-8036                          (202) 513-6249
      kobrien@earthjustice.org                jared.thompson@nrdc.org

      SUZANNE NOVAK                           ERIK OLSON
      HILLARY AIDUN                           Natural Resources Defense Council
      Earthjustice                            1152 15th Street NW, Suite 300
      48 Wall St., 15th floor                 Washington, DC 20005
      New York, New York 10005                (202) 289-2415
      (212) 823-4981                          eolson@nrdc.org
      (212) 284-8040
      snovak@earthjustice.org                 KAREN CHEN
      haidun@earthjustice.org                 Natural Resources Defense Council
                                              111 Sutter Street, 21st Floor
      Counsel for Buxmont Coalition           San Francisco, CA 94104
      for Safe Water, Clean Cape Fear,        (415) 875-8261
      Clean Haw River, Concerned              kchen@nrdc.org
      Citizens of WMEL Water Authority
      Grassroots, Environmental Justice   Counsel for Natural Resources
      Task Force, Fight for Zero,         Defense Council
      Merrimack Citizens for Clean Water,
      and Newburgh Clean Water Project




                                         13
    CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

      I hereby certify that the foregoing Opposition contains 2,746 words,

excluding the items listed in Fed. R. App. P. 32(f), and was composed in Times

New Roman font, 14-point. The opposition complies with applicable type-volume

and typeface requirements. Fed. R. App. P. 32(a)(5)–(6); Fed. R. App. P. 27(d)(2).

DATED: April 21, 2025                              /s/Katherine K. O’Brien
                                                   KATHERINE K. O’BRIEN
                                                   Earthjustice
                                                   P.O. Box 2297
                                                   South Portland, Maine 04116
                                                   (212) 284-8036
                                                   kobrien@earthjustice.org




                                        14
                          CERTIFICATE OF SERVICE

      I certify that on this 21st day of April, 2025, the foregoing Opposition to

Motion for Leave to File Amicus Curiae Brief was filed with the electronic case

filing (ECF) system of the U.S. Court of Appeals for the D.C. Circuit, which will

provide electronic notice to all counsel of record.

DATED: April 21, 2025                                 /s/Katherine K. O’Brien
                                                      Katherine K. O’Brien
                                                      Earthjustice
                                                      P.O. Box 2297
                                                      South Portland, ME 04117
                                                      (212) 284-8036
                                                      kobrien@earthjustice.org




                                          15
